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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE


UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                                      CRIMINAL ACTION NO. 3:23CR-65-DJH


KELVIN L. ANDERSON                                                                      DEFENDANT

            UNITED STATES’ UNOPPOSED MOTION TO CONTINUE TRIAL

         Comes now the United States America, by counsel, and moves to continue the trial of this

action, currently scheduled for August 21, 2023. [DN 19]. As grounds for this motion, counsel

states that discovery has been completed, and the parties are in discussions to resolve the case. If

the case is not resolved by agreement, the United States will need additional time to prepare for

trial.

         This is the first trial date in this case. The undersigned is scheduled to begin a trial on

August 14, 2023, before this Court in United States v. Trey Shoats, 3:22-CR-00106-DJH. The

expected length of that trial is five days. A continuance of the August 21st trial date is necessary

in the interests of justice to allow defense counsel an opportunity to review the discovery

produced in the case, and to allow counsel for the United States time for the effective preparation

for trial, taking into account the exercise of due diligence. The United States thereby requests

that the trial be remanded from the Court’s August trial docket, that this matter be set down for a

status conference, and the intervening time be excluded from the Speedy Trial Act calculation

pursuant to 18 U.S.C. §3161(h)(7)(A) and B(ii). Defense counsel has stated that the Defendant

has no objection to the motion to continue the trial.
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       Wherefore, the United States requests that the trial scheduled to begin August 21, 2023,

be continued pending further Order.

                                                           Respectfully submitted,

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